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                        EXHIBIT D
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Bolger, Kate

From:                                          Mark Schweikert <mark@schweikertlaw.com>
Sent:                                          Wednesday, October 19, 2022 1:52 PM
To:                                            Bolger, Kate; John B. Williams
Cc:                                            Oran, Hilary; Holoszyc-Pimentel, Raphael; Feder, Eric; Edison, Eric; LeMieux, George
Subject:                                       Re: Dershowitz deposition follow-up
Attachments:                                   2022.10.19 P's Supplement to ROG #7.pdf


[EXTERNAL]

Good afternoon,

I am following up on your email below. Although Rule 30(e)(1)(A) only requires supplementation “if the
additional or corrective information has not otherwise been made known to the other parties during the
discovery process[,]” such as Mr. Dershowitz’s deposition, we have nevertheless supplemented his attached
answer to Interrogatory Number 7.

Thank you.

Mark A. Schweikert, Esq.


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mark@schweikertlaw.com
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From: Bolger, Kate <KateBolger@dwt.com>
Date: Sunday, October 16, 2022 at 10:30 PM
To: Mark Schweikert <mark@schweikertlaw.com>, John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>, Holoszyc-Pimentel, Raphael <rhp@dwt.com>, Feder, Eric
<EricFeder@dwt.com>, Edison, Eric <EEdison@gunster.com>, LeMieux, George <GLeMieux@gunster.com>
Subject: RE: Dershowitz deposition follow-up

Hi Mark and John

Hope you are both well.


I am following up on the below. What is the basis for your contention that you are in compliance with Rule
26(e)(1)(A)? As you know, you must timely supplement if your response is “incomplete or incorrect.”


                                                                                   1
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CNN’s Interrogatory No. 7 asked Plaintiff to identify anyone who provided financial support for this action. CNN’s
interrogatories were also expressly continuing so as to require supplemental answers. Plaintiff did not object to
Interrogatory No. 7. Plaintiff responded: “None.”

But at his deposition, Plaintiff testified that “people . . . contributed to the Giuffre fund” and “some small amounts of
money were paid for some of the expenses in this case as well.” Pl. Dep. Tr. 563:10–18. Unless it is your position that
Plaintiff testified falsely under oath, Plaintiff’s interrogatory response is incorrect and must be supplemented.

This information is highly relevant in light of, inter alia, Plaintiff’s inconsistent statements on the topic. CNN is entitled
to discover the truth of who is funding this action, particularly because Plaintiff has opened the door through his
inconsistent statements and placed his credibility at issue. See Houston v. Publix Supermarkets, Inc., 2015 WL 4581541,
at *2 (N.D. Ga. July 29, 2015) (finding that litigation funding is “highly relevant and probative” when used “to attack . . .
credibility”), aff’d sub nom. ML Healthcare Servs., LLC v. Publix Super Markets, Inc., 881 F.3d 1293 (11th Cir. 2018); Cobra
Int’l, Inc. v. BCNY Int’l, Inc., 2013 WL 11311345, at *3 (S.D. Fla. Nov. 4, 2013) (compelling discovery into litigation funding
so that defendant can “test [plaintiff’s] averments”).

Furthermore, on September 27, you agreed that you “will amend the interrogatory” response with “the identities of
people who have contributed to the Alan Dershowitz Legal Defense Trust.” Your reversal in position, without adequate
explanation, is surprising.

Please supplement your answer to Interrogatory No. 7 by the end of the week, or we will have to seek relief from the
Court. We will produce the relevant insurance policy before the end of the month.


Best,
Kate Bolger




From: Mark Schweikert <mark@schweikertlaw.com>
Sent: Wednesday, October 5, 2022 3:07 PM
To: Bolger, Kate <KateBolger@dwt.com>; John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>; Holoszyc-Pimentel, Raphael <rhp@dwt.com>; Feder, Eric
<EricFeder@dwt.com>; Edison, Eric <EEdison@gunster.com>; LeMieux, George <GLeMieux@gunster.com>
Subject: Re: Dershowitz deposition follow-up

[EXTERNAL]

Hello Kate,

We have reviewed the interrogatory, Mr. Dershowitz’s testimony, and Rule 26(e) regarding supplementing
discovery responses. We believe we are in compliance with Rule 26(e)(1)(A) and do not intend on amending
the interrogatory.

Please let us know the status of your client’s production of its insurance policy. Given the initial disclosures
were court-ordered (ECF No. 34), we believe our request is valid and timely.

If you’d like to confer further, please contact John, as I am prepping for trial in state court beginning Tuesday
next week.

Thank you.

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From: Bolger, Kate <KateBolger@dwt.com>
Date: Tuesday, October 4, 2022 at 4:37 PM
To: Mark Schweikert <mark@schweikertlaw.com>, John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>, Holoszyc-Pimentel, Raphael <rhp@dwt.com>, Feder, Eric
<EricFeder@dwt.com>, Edison, Eric <EEdison@gunster.com>, LeMieux, George <GLeMieux@gunster.com>
Subject: RE: Dershowitz deposition follow-up

Hello
We don’t yet have an answer to this and our summary judgment motion is due next week. Will you please provide an
answer? If not, we would have to raise with the Court.
Thanks
Kate Bolger

From: Bolger, Kate
Sent: Wednesday, September 28, 2022 3:00 PM
To: 'Mark Schweikert' <mark@schweikertlaw.com>; John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>; Holoszyc-Pimentel, Raphael <rhp@dwt.com>; Feder, Eric
<EricFeder@dwt.com>
Subject: RE: Dershowitz deposition follow-up


Thanks, Mark.

Our interrogatory requires you to identify any non-party person or entity that is providing funding for the lawsuit. To
the extent that there is funding from any source other than the Alan Dershowitz Legal Defense Fund, please provide us
with that information as well.

Stay safe down there!
Thanks,
Kate



From: Mark Schweikert <mark@schweikertlaw.com>
Sent: Tuesday, September 27, 2022 2:04 PM
To: Bolger, Kate <KateBolger@dwt.com>; John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>; Holoszyc-Pimentel, Raphael <rhp@dwt.com>; Feder, Eric

                                                                                   3
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<EricFeder@dwt.com>
Subject: Re: Dershowitz deposition follow-up

[EXTERNAL]

Thank you, Kate. Attached are the emails regarding Dershowitz’s letter to the editor of The New Yorker.

As for his 2021 tax returns, I followed up with his accountant this morning. I should have whatever has been
filed soon and will produce it accordingly.

I will search for any additional responsive emails with Mr. Beck later today.

Lastly, we will amend the interrogatory as soon as I receive more information from Mr. Rothfeld regarding the
identities of people who have contributed to the Alan Dershowitz Legal Defense Trust.


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From: Bolger, Kate <KateBolger@dwt.com>
Date: Tuesday, September 27, 2022 at 10:06 AM
To: Mark Schweikert <mark@schweikertlaw.com>, John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>, Holoszyc-Pimentel, Raphael <rhp@dwt.com>, Feder, Eric
<EricFeder@dwt.com>
Subject: RE: Dershowitz deposition follow-up

Hi Mark
Hope you and yours are safely out of Ian’s path.

We have not heard back from you on the four outstanding items. When can we expect to receive those documents and
the information? For reference, they are:

          Mr. Dershowitz’s tax returns from 2021
          Any email exchanges between Mr. Dershowitz and Mr. Beck concerning President Trump or CNN
          Mr. Dershowitz’s letter to the editor of The New Yorker concerning the article by Isaac Chotiner
          A supplemental answer to our Interrogatory #7: Identify any non-party Person or entity that has provided or is
           providing financial support for this Action (including but not limited to payment of attorneys’ fees and costs)
           and/or that has a financial interest in the outcome of this Action.

Thanks,
                                                                                   4
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Kate



From: Mark Schweikert <mark@schweikertlaw.com>
Sent: Thursday, September 22, 2022 12:51 PM
To: Bolger, Kate <KateBolger@dwt.com>; John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>; Holoszyc-Pimentel, Raphael <rhp@dwt.com>; Feder, Eric
<EricFeder@dwt.com>
Subject: Re: Dershowitz deposition follow-up

[EXTERNAL]

Hello Kate,

Alan has advised that his tax returns are accurate. As for the remaining items, we are working on them and
should be able to get you everything shortly.

Thanks.

Mark A. Schweikert, Esq.


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From: Bolger, Kate <KateBolger@dwt.com>
Date: Saturday, September 17, 2022 at 8:40 PM
To: Mark Schweikert <mark@schweikertlaw.com>, John B. Williams <jbwilliams@williamslopatto.com>
Cc: Oran, Hilary <HilaryOran@dwt.com>, Holoszyc-Pimentel, Raphael <rhp@dwt.com>, Feder, Eric
<EricFeder@dwt.com>
Subject: Dershowitz deposition follow-up



           Mark and John,



           During yesterday’s deposition, Mr. Dershowitz agreed to provide produce to us certain documents.
           Please provide us with the following by next Thursday, September 22:



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                 Mr. Dershowitz’s tax returns from 2021
                 Any email exchanges between Mr. Dershowitz and Mr. Beck concerning President Trump or CNN
                 Mr. Dershowitz’s letter to the editor of The New Yorker concerning the article by Isaac Chotiner



       In addition, in light of Mr. Dershowitz’s testimony that some of the money from the Alan Dershowitz
       Legal Defense Fund has paid for this litigation, please provide a supplemental answer to our
       Interrogatory #7: Identify any non-party Person or entity that has provided or is providing financial
       support for this Action (including but not limited to payment of attorneys’ fees and costs) and/or that
       has a financial interest in the outcome of this Action.



       Finally, we need to get some clarity on Mr. Dershowitz’s tax returns. I’ve attached the returns—
       produced to us during the discovery period—that Mr. Dershowitz testified were inaccurate. Please
       confirm whether, upon further review, Mr. Dershowitz believes that these are accurate. As I stated
       during the deposition, if these documents are inaccurate, we will need to reopen Mr. Dershowitz’s
       deposition for the limited purpose of discussing the correct tax returns.


The password is



       Thanks,

       Kate Bolger




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